                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           CASE NO. 3:20-CV-513-GCM-DCK

 ERIN BALTHASAR,                                    )
                                                    )
                  Plaintiff,                        )
                                                    )
     v.                                             )      ORDER
                                                    )
 UNUM LIFE INSURANCE COMPANY                        )
 OF AMERICA,                                        )
                                                    )
                  Defendant.                        )
                                                    )

          THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Status Report”

(Document No. 15) filed October 27, 2021, and scheduling concerns. This action has been referred

to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate.

          The parties’ recent “Joint Status Report” proposes that the Court extend the current stay of

this case until the parties hold a second mediation on November 22, 2021. (Document No. 15).

The undersigned finds good cause to allow the suggested extension of the stay; however, further

extension of this stay is unlikely to be allowed.

          IT IS, THEREFORE, ORDERED that the STAY of this case is extended through

November 22, 2021.

          IT IS FURTHER ORDERED that the parties shall file a Notice Of Settlement or a Status

Report that includes proposed revisions to the case deadlines, on or before November 24, 2021.

          SO ORDERED.

                                          Signed: October 28, 2021




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